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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

MEDICAL IMAGING CORP.,

       Plaintiff,
v.                                                            Case No.: 8:18-cv-437-T-36AAS

PARTNERS IMAGING HOLDINGS LLC,

      Defendant.
______________________________________/

                                              ORDER

       Counsel for Medical Imagining Corp. requests to withdraw from this action. (Doc. 32).

Local Rule 2.03(b), M.D. Fla., provides:

               “No attorney, having made a general appearance . . . , shall thereafter
               abandon the case or proceeding in which the appearance was made,
               or withdraw as counsel for any party therein, except by written leave
               of Court obtained after giving ten (10) days’ notice to the party or
               client affected thereby, and to opposing counsel.”

The motion does not state whether Medical Imaging Corp. has received ten days’ notice of the

withdrawal.1

       Accordingly, it is ORDERED that counsel for the plaintiff’s Motion for Withdrawal (Doc.

32) is DENIED without prejudice. Counsel may re-file the motion and certify that the notice

required by Local Rule 2.03(b) was given.




       1
          It is further noted that a corporation cannot proceed pro se. See Palazzo v. Gulf Oil Corp.,
764 F.2d 1381, 1385 (11th Cir. 1985); Local Rule 2.03(e), M.D. Fla. Although the motion refers
to local counsel, only attorney Jeffrey Chubak has appeared for the plaintiff in this action.
                                                  1
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      ORDERED in Tampa, Florida on this 6th day of March, 2018.




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